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				IN RE OFFICIAL PUBLICATION OF DECISIONS OF THE COURT OF CRIMINAL APPEALS2014 OK CR 10Case Number: CCAD-2014-1Decided: 08/26/2014IN RE OFFICIAL PUBLICATION OF DECISIONS OF THE OKLAHOMA COURT OF CRIMINAL APPEALS
Cite as: 2014 OK CR 10, __  __

ORDER DESIGNATING THE OFFICIAL REPORTER OF DECISIONS OF THE 
OKLAHOMA COURT OF CRIMINAL APPEALS AND ADOPTINGREVISION IN AND 
REPUBLISHING PORTION OF THERULES OF THE COURT OF CRIMINAL 
APPEALS
¶1 The January 2, 1954, "Certificate" designating West Publishing Company, 
St. Paul, Minnesota, as the official reporter of decisions of the Oklahoma Court 
of Criminal Appeals is hereby revoked. Effective September 1, 2014, the Oklahoma 
Court of Criminal Appeals will become the official publisher of the decisions of 
this Court. The official version of published decisions of the Oklahoma Court of 
Criminal Appeals will be published on the Oklahoma State Courts Network 
(www.oscn.net). Such decisions will become "official" upon the placement of this 
Court's official seal of authentication at the beginning of the published 
decision. 
¶2 Pursuant to this Order we hereby revise, adopt, promulgate and republish 
portions of the Rules of the Oklahoma Court of Criminal Appeals, 22 
O.S.Supp.2014, Ch. 18 App. (2014), set forth as follows and set out in the 
attachment to this order:

SECTION III. PERFECTING AN APPEAL IN THE COURT OF CRIMINAL APPEALS; Rule 
3.5 Briefs, Contents, Citation of Authorities; Rule 3.13 Opinions, Definition of 
Votes.¶3 These revisions shall become effective on the date of this order.
¶4 IT IS SO ORDERED.
¶5 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 26th day of 
August, 2014. 
/S/DAVID B. LEWIS, Presiding Judge
/S/CLANCY SMITH, Vice Presiding Judge 
/S/GARY L. LUMPKIN, Judge, Concur in Results
/S/ARLENE JOHNSON, Judge
ATTEST:/s/Michael S. RichieClerk
&nbsp;
Rule 3.5 Briefs; Contents; Citation of Authorities 
C. Argument and Citation of Authorities. 
(1)&nbsp;Both parties shall also include a concise statement of the 
applicable standard of review in the discussion of each issue presented or in a 
separate heading placed before the discussion of the issue. The parties shall 
also provide a reference to the pages of the record filed and the authorities 
relied upon in support of each point raised. 
(2) Citation to opinions of the Oklahoma Court of Criminal Appeals shall 
include citations to Pacific, Pacific 2nd, and Pacific 
3rd&nbsp;Reporters. Citation to the Court's official paragraph citation form is 
allowed as a parallel cite, but not required citations to the 
Court's official paragraph citation form. The parallel cite to the relevant 
edition of the Pacific Reporter is also required. Effective January 
1, 1998, September 1, 2014, citation to opinions of the Oklahoma 
Court of Criminal Appeals shall be as follows: 
(a) Oklahoma Court of Criminal Appeals Opinions in which mandate has issued 
prior to January 1, 1954, shall include citations to the official paragraph 
citation form and to the Pacific and Pacific 2nd Reporters. 
Parallel citation to Oklahoma Criminal Reports is strongly encouraged. Examples 
of permissible citation form include: 
(i) Hunter v. State, 1953 OK CR 155, 97 Okl.Cr. 402, 264 P.2d 997 
(1953).
(ii) Hunter v. State, 1953 OK CR 155, 97 Okl.Cr. 402, 264 P.2d 
997, 998 (1953). 
(iii) Hunter v. State, 1953 OK CR 155, 97 Okl.Cr. 402, 403, 264 
P.2d 997, 998 (1953). 
(iv) Hunter v. State, 1953 OK CR 155, 264 P.2d 997 
(Okl.Cr.1953).
(v) Hunter v. State, 1953 OK CR 155, 264 P.2d 997, 998 
(Okl.Cr.1953).(b) Oklahoma Court of Criminal Appeals Opinions in which mandate has issued 
after January 1, 1954, shall include citation to the official paragraph 
citation form of the Oklahoma Court of Criminal Appeals and to the 
citations to relevant edition of the 
Pacific, Pacific 2nd, and Pacific 3rd&nbsp;Reporters. 
Parallel citation to the official paragraph citation form of the 
Oklahoma Court of Criminal Appeals is strongly encouraged. Examples of 
permissible citation form include: 

(i) Burns v. State , 1955 OK CR 46, 282 P.2d 258.
(ii) Burns v. State, 1955 OK CR 46, 282 P.2d 258, 259.
(iii) Burns v. State, 1955 OK CR 46, ¶ 9, 282 P.2d 258, 
259.
(iv) Burns v. State, 282 P.2d 258 (Okl.Cr.1955).
(v) Burns v. State, 282 P.2d 258, 259 
(Okl.Cr.1955).In "Burns v. State, 1955 OK CR 46, ¶ 9, 282 P.2d 258" - "1955" refers 
to the year the mandate issued, "OK CR" is the court designation for the 
Oklahoma Court of Criminal Appeals, "46" is the number of that 1955 opinion 
assigned by the Court, "¶ 9" is paragraph number 9 of the opinion as designated 
by the Court, and "282 P.2d 258" is the parallel citation to the Pacific 
2nd reporter. 
(c) An opinion cited subsequent to issuance of the mandate but prior to 
official publication shall include citation to the Oklahoma Bar Journal and 
the official paragraph citation form of the Oklahoma Court of Criminal 
Appeals. Parallel citation to the official paragraph citation form 
of the Oklahoma Court of Criminal Appeals is strongly encouraged. 
Examples of permissible citation form include: 

(i) Robinson v. State, 1997 OK CR 24, 68 OBJ 1379 
(1997).
(ii) Robinson v. State, 1997 OK CR 24, 68 OBJ 1379, 1381 
(1997).
(iii) Robinson v. State, 1997 OK CR 24, ¶ 3, 68 OBJ 1379, 1381 
(1997).
(iv) Robinson v. State, 68 OBJ 1379 (Okl.Cr.1997).
(v) Robinson v. State, 68 OBJ 1379, 1381 
(Okl.Cr.1997).(d) Opinions of the Oklahoma Court of Criminal Appeals issued for publication 
shall be published on the Court's World Wide Web site, www.occa.state.ok.us. 
Such opinions may not be cited as authority in a subsequent appellate opinion 
nor used as authority by a trial court until the mandate in the matter has 
issued. After the mandate has issued, the opinion as published on the Web site 
shall constitute the official paragraph citation form of the Oklahoma Court of 
Criminal Appeals. See Rule 1.0 (D) for citation to Rules. 
(3) In all instances, an unpublished&nbsp;decision is not binding on this 
Court. However, parties may cite and bring to the Court's attention the 
unpublished decisions of this Court provided counsel states that no published 
case would serve as well the purpose for which counsel cites it, and provided 
further that counsel shall provide opposing counsel and the Court with a copy of 
the unpublished decision. 
(4) Citation to opinions of the United States Supreme Court shall include 
each of the following: U.S., S.Ct., L.Ed. (year). 
(5) Citation to Oklahoma Uniform Jury Instructions - Criminal (Second) shall 
be as follows: Instruction No. ____, OUJI-CR(2d); and citation to revised 
instructions shall be noted with the addition of (Supp. _____) (Year). 
(6) Failure to present relevant authority in compliance with these 
requirements will result in the issue being forfeited on appeal. See 
Stafford v. State, 1990 OK CR 74, ¶ 12, 800 P.2d 738, 741 
(Okl.Cr.1990); Walton v. State, 1987 OK CR 227, ¶ 
10, 744 P.2d 977, 979 (Okl.Cr.1987); S.R.S. v. 
State, 1986 OK CR 168, ¶ 5, 728 P.2d 515, 518 
(Okl.Cr.1986). 
&nbsp;
Rule 3.13 Opinions; Definition of Votes 
A. Filing Opinions. Opinions may be by Summary Opinion form, memorandum 
or of such length and detail as the Court determines. See Sections 48 and 
49 of Title 20; Johnson v. State, 1993 OK CR 11, 847 P.2d 810 
(Okl.Cr.1993). All opinions delivered by the Court shall, 
immediately upon the delivery thereof, be handed to the Clerk to be recorded, 
and it shall be the duty of the Clerk to mail copies to all interested parties 
when recorded. 
B. Effective September 1, 2014, the Oklahoma Court of Criminal Appeals will 
become the official publisher of decisions of the Oklahoma Court of Criminal 
Appeals. The Oklahoma State Courts Network at www.oscn.net shall be the 
repository of official versions of the published decisions of the Oklahoma Court 
of Criminal Appeals. Such decisions will become official, and may be used as 
authority, when the mandate in the matter has issued and/or upon placement of 
the Court's official seal at the beginning of the decision when filed with the 
Clerk of this Court.
B. C. Definitions of Votes. 
(1) Concur.--The voting judge agrees with both the rationale and 
result reached in the opinion. 
(2) Specially Concur.--The voting judge agrees with the rationale and 
result reached, but would like to add specific authority or explanation to the 
rationale used in the opinion. 
(3) Concur in Results.--The voting judge agrees with the result 
reached in the majority opinion, but does not agree with the rationale used. 

(4) Concur in Part and Dissent in Part.--The voting judge agrees with 
the rationale and/or the result of a particular issue(s) in the opinion, but 
disagrees with the rationale and/or the result of other issue(s). 
(5) Not Participating.--The judge has not participated in the vote on 
the decision. 
(6) Recused.--The judge has elected to disqualify himself/herself from 
participating in the vote or the case. 
(7) Dissent.--The voting judge disagrees with the rationale and result 
reached in the majority opinion. 





	Citationizer© Summary of Documents Citing This DocumentCite
		Name
		Level
	Title 22. Criminal Procedure&nbsp;CiteNameLevel&nbsp;22 O.S. Rule 3.5, Briefs; Contents; Citation of AuthoritiesCited&nbsp;22 O.S. Rule 3.13, Opinions; Definition of VotesCitedCitationizer: Table of AuthorityCite
		Name
		Level
	None Found.


				
					
					
				
             
         
        
            

		